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IN THE UNITED sTATEs DisTRICT COURT _ `B"\\D.C_
FoR THE WESTERN DISTRICT oF TENNESSEE 05 Jtm -5 du
EASTERN DIVIsIoN 9=38

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oZELLA WADLEY and JosEPH ) m JiCKSo/v
WADLEY, )

)
Plaintiffs, )
)

VS. ) NO. 04-1276-T/An
)
GRANGE MUTUAL CASUALTY )
COMPANY, )
)
Defendant. )

ORDER OF DISMISSAL

 

In OCtober 2003, the Honorable J. Daniel Breen granted plaintiffs’ motion to
voluntarily dismiss case #01-13 77 Without prejudice I-Iowever, the motion Was granted only
on the condition that, if the case Were re-flled, the plaintiffs Would pay certain costs incurred
by the defendant Plaintiffs re-filed the action on October 20, 2004. Thereafter, on March
8, 2005, defendant filed a motion to dismiss, asserting that plaintiffs had not complied With
Judge Breen’s order. Even though the plaintiffs did not respond to the motion to dismiss,
the Court entered an order on April 25, 2005 directing the defendant to file an itemization
of the costs in question. Plaintiffs Were ordered to file either an objection or proof of
payment Within eleven days after the filing of that itemization Plaintiffs Were Warned that

failure to comply Would result in dismissal of this action Without further notice.

This document entered on the docket sheet ln compliance

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Defendant filed the required itemization of costs on May 5, 2005. Therefore,
plaintiffs had until May 16, 2005 to comply With the Court’s order. However, plaintiffs
have filed neither an objection nor proof of payment Therefore, this case is hereby
DISMISSED With prejudice

lT IS SO ORDERED.

®ML»M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

JLQ/FWYH§"

DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:04-CV-01276 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

